                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-225 (DLF)
       v.                                    :
                                             :
TRENISS JEWELL EVANS III,                    :
                                             :
               Defendant.                    :

                         NOTICE PURSUANT TO COURT ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this notice in response to the Order issued on March

1, 2023, directing the parties to submit, under seal, proposed redactions to the transcripts of the

hearings held on September 13, 2022, and November 21, 2022.

       Pursuant to the March 1, 2023 order, the government has filed, under seal, two sets of

transcripts of the hearings held on September 13, 2022 and November 21, 2022: (1) transcripts for

the September 13 (afternoon session) and November 21 hearings reflecting redactions as to which

the parties agree; and (2) transcripts for the September 13 (morning session) and November 21

hearings reflecting, in addition, redactions proposed by the government only. The additional

redactions proposed by the government are warranted because those portions of the transcripts

would reveal potentially sensitive information about other investigations. The government does

not propose any additional redactions for the transcript of the hearing held in the afternoon of

September 13, 2022.

       Counsel for the defendant has indicated that the defendant objects to the additional

redactions proposed by the government.
March 8, 2023         Respectfully submitted,

                      MATTHEW M. GRAVES
                      UNITED STATES ATTORNEY
                      D.C. Bar No. 481052

                By:   /s/ Francesco Valentini
                      Francesco Valentini
                      D.C. Bar No. 986769
                      Trial Attorney
                      United States Department of Justice, Criminal Division
                      Detailed to the D.C. United States Attorney’s Office
                      601 D Street NW
                      Washington, D.C. 20530
                      (202) 598-2337
                      francesco.valentini@usdoj.gov




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